USCA Case #24-1113   Document #2071408   Filed: 08/22/2024   Page 1 of 6
CASE SCHEDULED FOR ORAL ARGUMENT SEPTEMBER 16, 2024


         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC.,                              )
                                          )
and                                       )
                                          )
BYTEDANCE LTD.,                           )
                          Petitioners,    )
                                          )
     v.                                   ) No. 24-1113 (Lead)
                                          )
MERRICK B. GARLAND, in his official       )
capacity as Attorney General of the       )
United States,                            )
                          Respondent.     )
                                          )
                                          )
BRIAN FIREBAUGH, CHLOE JOY                )
SEXTON, TALIA CADET, TIMOTHY              )
MARTIN, KIERA SPANN, PAUL TRAN,           )
CHRISTOPHER TOWNSEND,                     )
and STEVEN KING,                          )
                          Petitioners,    )
                                          )
     v.                                   ) No. 24-1130
                                          )
MERRICK B. GARLAND, in his official       )
capacity as Attorney General of the       )
United States,                            )
                          Respondent.     )
                                          )
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                                             )
BASED POLITICS INC.,                         )
                            Petitioner,      )
                                             )
     v.                                      )     No. 24-1183
                                             )
MERRICK B. GARLAND, in his official          )
capacity as Attorney General of the          )
United States,                               )
                          Respondent.        )
                                             )

    NOTICE OF JOINDER OF CREATOR PETITIONERS IN
   TIKTOK PETITIONERS’ REPLY IN SUPPORT OF CROSS-
  MOTION IN THE ALTERNATIVE FOR APPOINTMENT OF A
                  SPECIAL MASTER

     PLEASE TAKE NOTICE that Petitioners Brian Firebaugh, Chloe

Joy Sexton, Talia Cadet, Timothy Martin, Kiera Spann, Paul Tran,

Christopher Townsend, and Steven King (“Creator Petitioners”) hereby

join in the Reply in Support of Cross-Motion in the Alternative for

Appointment of a Special Master (“Reply”) filed by Petitioners TikTok

Inc. and ByteDance Ltd. (“TikTok Petitioners”) on August 22, 2024.

Creator Petitioners join, adopt as their own, and incorporate by reference

the arguments raised in the Reply.




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DATED: August 22, 2024                Respectfully submitted,


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                   CERTIFICATE OF COMPLIANCE

     1.    This document complies with the type-volume limit of D.C.

Circuit Rule 27(c) because it contains 75 words, excluding the parts of the

document exempted by Fed. R. App. 32(f).

     2.    This document complies with the typeface requirements of

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P. 32(a)(6) because this document has been prepared in a proportionally-

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Dated: August 22, 2024            Respectfully submitted,

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                       CERTIFICATE OF SERVICE

        I hereby certify that I caused the foregoing to be electronically

filed with the United States Court of Appeals for the District of

Columbia Circuit by using the appellate CM/ECF system on August 22,

2024.

        I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the appellate CM/ECF

system.


DATED: August 22, 2024

                                            /s/ Adam S. Sieff
                                            Adam S. Sieff

                                            Counsel for Creator Petitioners




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